






No. 04-00-00481-CR



Wanda Jean LUTZ,


Appellant



v.



The STATE of Texas,


Appellee



From the 175th Judicial District Court, Bexar County, Texas


Trial Court No. 2000-CR-0714


Honorable Mary Román, Judge Presiding



PER CURIAM


Sitting:	Phil Hardberger, Chief Justice

		Sarah B. Duncan, Justice

		Karen Angelini, Justice


Delivered and Filed:	August 23, 2000


MOTION TO DISMISS GRANTED; APPEAL DISMISSED


	Appellant filed a motion to dismiss his appeal. The motion is granted, and this appeal is
dismissed. See Tex. R. App. P. 42.2(a).

								PER CURIAM

DO NOT PUBLISH


